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                          UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO

                                Minutes of Proceeding/Minute Order

 Date: August 30, 2018                             Honorable Thomas B. McNamara, Presiding
                                                   Anne E. R. Tunnell, Law Clerk


 In re: 11380 SMITH RD LLC                                                  Case No. 18-10965 TBM
                                                                                         Chapter 11
 Debtor.
            Appearances
 Trustee                                              Counsel   R. Samuel Boughner
 Debtor                                               Counsel   Jeffrey A. Weinman
 Creditor   11380 East Smith RD Investments, LLC      Counsel   Timothy M. Swanson

PROCEEDINGS: Hearing pursuant to 11 U.S.C. § 1125(a) on the adequacy of the
Amended Disclosure Statement (Docket No. 113, the “Disclosure Statement”) and the
Objection thereto filed by the United States Trustee (the “UST”) (Docket 119, the
“Objection”).

[X] The parties entered their appearances on the record.
[X] The Debtor advised the Court that it has amended the Disclosure Statement to meet the
objections of the UST. The Debtor provided the Court with a copy of a red-lined Second
Amended Disclosure Statement.
[X] The Debtor advised the Court of the changes made to the Disclosure Statement.
[X] The UST has reviewed the red-lined version of the Disclosure Statement and represents
that it resolves his Objection.
[X] The Debtor argued that the changes to be made to the Disclosure Statement are not
material and that further notice is not required. The UST and 11380 East Smith RD
Investments, LLC agree.
[X] The Court issued oral findings and conclusions of record.

ORDERS:

[X] The Court cannot find that the information in the Disclosure Statement is adequate within
the meaning of Section 1125(a) of the Code and, therefore, denies approval of the Disclosure
Statement in its current form.
[X] Debtor shall file in the Court’s electronic docket for this case a Second Amended
Disclosure Statement and Plan of Reorganization by SEPTEMBER 20, 2018. The Second
Amended Disclosure Statement shall incorporate the changes discussed during the hearing.
Debtor shall file at the same time red-lined versions of each document showing the changes
between the Amended Plan (Docket No. 112) and the Disclosure Statement (Docket No. 113)
and the Second Amended Plan and Second Amended Disclosure Statement to be filed.
[X] Further notice of the Second Amended Disclosure Statement is not required.
[X] The Court will review the Second Amended Disclosure Statement when filed. If the Court
finds that the information contained therein is adequate within the meaning of Section 1125(a),
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the Court will approve the Second Amended Disclosure Statement and issue an order setting a
hearing on confirmation of the Second Amended Plan for Thursday, NOVEMBER 1, 2018 at
1:30 p.m. in Courtroom E, 721 19th Street, Denver, CO 80202.



Date: August 30, 2018
                                                                                    FOR THE COURT:
 IT IS SO ORDERED:                                                                  Kenneth S. Gardner, Clerk of Bankruptcy Court


 ___________________________________________                                        By:
 Honorable Thomas B. McNamara,                                                      _______________________________________
 United States Bankruptcy Judge                                                     Anne E. R. Tunnell, Law Clerk




      ‫܈‬This hearing is considered evidentiary for statistical reporting purposes only.
